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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

PUBLIC CITIZEN, INC.,                          )
                                               )
               Plaintiff,                      )       Civil Action No. 97-2891
                                               )
v.                                             )
                                               )
JOSHUA B. BOLTEN,                              )
Director of the Office of Management and       )
Budget, et al.,                                )
                                               )
               Defendants.                     )

      PLAINTIFF’S RESPONSE TO DEFENDANT DEPARTMENT OF ENERGY’S
               NEW INDEX OF MAJOR INFORMATION SYSTEMS

       On the afternoon of April 5, 2005, defendant Department of Energy (“DOE”) posted on its

website a new index of major information systems, which includes descriptions of those systems.

As explained in Plaintiff’s April 5 filing, DOE posted the index too late in the day to enable Plaintiff

to review and respond to the new list on that date. Plaintiff submits this further response to address

DOE’s new index. The index is available on DOE’s website at www.ma.mbe.doe.gov/me70/foia/

umis.pdf, and a copy is attached to this response.

       1.      The Freedom of Information Act (“FOIA”) directs each agency to prepare an index

and descriptions of its major information systems as part of the requirement that each agency

compile “reference material or a guide for requesting records or information from the agency . . . .”

5 U.S.C. § 552(g). DOE’s index, however, was not compiled for the purpose of aiding the public

in accessing information. Rather, as explained in the Wallace Declaration filed by Defendants on

March 29, 2005, the index was compiled as part of two processes called “Enterprise Architecture”

(“EA”) and “capital planning and investment control” (“CPIC”). Neither process looks to the

substance of available information. Rather, as OMB explains, “An EA is the explicit description and
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documentation of current and desired relationships among business and management processes and

information     technology.”        OMB      Circular     A-130,    at   12,    §   9(a)(9)(d)(2)(a),

www.whitehouse.gov/omb/circulars/a130/a130trans4.html. And CPIC “means a management

process for ongoing identification, selection, control, and evaluation of investments in information

resources.” Id. § 6(c). Stated more simply, EA focuses on information technology, that is,

equipment, id. § 6(s), and CPIC focuses on investments and budget.

       OMB Circular A-130 defines “major information system” to include

       a system or investment that requires special management attention because of (1) its
       importance to an agency mission, (2) its high development, operating, or maintenance
       costs; or (3) its significant role in the administration of agency programs, finances,
       property, or other resources.

OMB Circular A-130, § 6(u) (enumeration added). Looking to the EA and CPIC processes might

be an appropriate way to identify major information systems that fit within the second of OMB’s

three categories, but neither is well-suited for identifying systems in the first and third categories.

Likely for this reason, DOE’s index of major information systems omits a number of records systems

that satisfy the OMB definition because they address topics central to the agency’s mission or

because of their significant role in the administration of agency programs. Indeed, the index seems

to include few if any systems that incorporate substantive information about DOE’s programs.

       For example, DOE’s “mission” includes “ensur[ing] the environmental cleanup of the

national nuclear weapons complex,” DOE Strategic Plan at 3 (Sept. 30, 2003),

http://strategicplan.doe.gov, and one of its seven “general goals” is to “accelerate cleanup of nuclear

waste weapons manufacturing and testing sites, completing cleanup of 108 contaminated sites by

2025.” Id. at 4. Although the DOE index refers to systems that relate to transportation of nuclear



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waste, it does not include systems that address its core mission of environmental cleanup of nuclear

waste. And the specific examples of records systems relating to environmental hazards that were

missing from DOE’s 2001 index are still missing today—including waste disposal records, permit

files, and files relating to Superfund sites. See Memo. in Sppt. of Pltf’s Motion for SJ at 11-12 (Jan.

19, 2001) (providing more detail about these examples).

       Another part of DOE’s mission is “to advance the national, economic, and energy security

of the United States; [and] to promote scientific and technological innovation in support of that

mission,” DOE Strategic Plan, supra ,at 3, which DOE also cites as one of its four strategic goals.

Id. at 4. Yet the index of major information does not appear to include systems that address this

central aspect of DOE’s work. For example, as explained in Plaintiff’s January 2001 memorandum,

DOE sponsors an enormous amount of basic scientific research, and its enabling legislation includes

special provisions that vest ownership of certain patents developed under DOE’s programs. See 42

U.S.C. §§ 2182, 2186, 5908. DOE has several systems of records related to its patents and

inventions and technology licensing. See Memo. in Sppt. of Pltf’s Motion for SJ at 12-13 (providing

examples of DOE patent records systems). None appears on the index.

       Like DOE’s environmental records, the patent records plainly have a “significant role in the

administration of agency programs, finances, property or other resources.” These missing items, as

well as others listed in Plaintiff’s January 2001 memorandum (at pp. 10-11), demonstrate that DOE

is still failing to provide the index of its major information systems required by FOIA.

       Moreover, in its earlier summary judgment papers, DOE identified several systems—such

as the OpenNet system, Human Subject Research file, and Environmental, Safety and Health

Researchers Workstation—as major information systems. See Memo. in Sppt. of Defs.’ Cross-


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Motion for SJ at 5 & nn. 2-3 (dated Feb. 14, 2001). None of these systems is on DOE’s current

index. At the time the parties filed their summary judgment motions, the DOE index also included,

for example, administrative files and a collection of documents maintained by the Defense Nuclear

Facilities Safety Board. Those materials are also no longer on DOE’s index.

       2.        The descriptions on the DOE index are helpful in that they illustrate that the index

is useless as a “reference” or “guide for requesting records or information from the agency.” In terms

of conveying the content of the systems listed to potential requesters, the descriptions are inadequate.

       For the most part, the descriptions are so opaque as to be meaningless to someone looking

to find out what sorts of information can be found at DOE.               See, e.g., Attachment at 4

(“Management, Budget & Evaluation e-Procurement: A headquarters procurement based system

associated with planning, awarding, and administering various unclassified acquisitions.”). Others

simply provide no real hint about what substantive information the system contains. See, e.g.,

Attachment at 1 (“South Western Power Administration EDMS This system will facilitate in

creating a more solid network infrastructure supporting collaboration across the DOE sites.”).

       Put simply, the new DOE index and the descriptions it contains cannot possibly be what

Congress had in mind when it mandated that agencies provide indices of major information systems

as an aid to FOIA requesters.

April 11, 2005                                         Respectfully submitted,

                                                               /s/
                                                       Allison M. Zieve (DC Bar No. 424786)
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(FY06) Environmental Management (E M) HQ Web Based
Mission Support Systems:
EM HQ Web Based Mission Support Systems provides mission
critical tools including commitment tracking; team collaboration,
knowledge management, workflow management, Electronic
records management, and Web Content Management to support
EM strategic goals.


Oak Ridge National Laboratory Center for Computational
Sciences :
Center for Computational Sciences is a collaboration of DOE-SC
and a world-class team from national labs and private industry. It
evaluates and deploys technology to maximize performance of
scientific applications and advances the Nation's science and
technology research.


S outh Western P ower A dministration EDMS
This system will facilitate in creating a more solid network
infrastructure supporting collaboration across the DOE sites.


Extended Common Integrated Technology Environment
(eXCITE)
This system will facilitate in creating a more solid network
infrastructure supporting collaboration across the DOE sites.


S outhwest P ower Authority (SWPA) MMIS (Cascade)
This system will facilitate in creating a more solid network
infrastructure supporting collaboration across the DOE sites.


(ePME) Enclave:
The E-Gov Corporate R&D Portfolio Management Environment
Enclave system is the DOE's corporate technology solution that
provides a new R&D management and administration capability to
allow for effective technical program and project management.


E nergy E fficiency and Renewable Energy Corporate
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Management and Planning System:
EERE Corporate Management and Planning System will
incorporate separate EE Sector Financial Systems: OITIS,
OPTIS, BRUTIS, and I-Explorer, from FY 2003 on.




Windows Systems Approach to Grants Administration:
This system includes maintenance of the Windows-based
client/server system WinSaga (active) and will ultimately
transition to Grants.gov.


E nvironment, Safety & Health Energy Employees
Occupational Illness Compensation Act Initiative
Fiscal Year 2005 National Defense Authorization Act abolished
Part D of the EEOICPA administered by the DOE and replaced IT
with a new system of federal payments called Part E to be
administered by the Department of Labor.


E nvironment, Safety & Health Case Management
System Fiscal Year 2005 National Defense Authorization Act
abolished Part D of the EEOICPA administered by the DOE and
replaced IT with a new system of federal payments called Part E
to be administered by the Department of Labor.


E nvironmental Management Headquarters Integrated
Planning,
Accountability, and Budgeting System:
The Integrated Planning, Accountability, and Budgeting System-
Information System (IPABS-IS) is the project-based system that
supports the routine data collection and reporting needs of the EM
Program.


Energy Science Network (E S net):
DOE Energy Sciences Network (ESnet) system is in Support of
Advanced Scientific Computing Research.
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DOE Enterprise Architecture Repository :
The DOE Enterprise Architecture (EA) Repository ensures
compliance with OMB A-130/Clinger-Cohen Act by promoting
standard architectural practices, providing a framework for
systems modernization, and establishing an EA vision aligned
with DOE strategic goals.


Electronic Capital Planning & Investment Control
(eCPIC):
eCPIC is a system to electronically reconfigure and re-scope the
DOE electronic Capital Planning and Investment Control (eCPIC)
process to address deficiencies in current IT management
practices.


Idaho National E ngineering & E nvironmental Laboratory
Business Systems:
Maintains and operates INEEL financial systems consisting of
Commercial Off The Shelf applications, interfaces with external
source systems (i.e., Supply Chain & Payroll), & in-house
developed bolt-ons. Performs GL, Asset Management, AR,
Costing, Billing, & reporting to DOE.


Idaho National E ngineering & E nvironmental Laboratory
Financial System:
Maintains and operates INEEL financial systems consisting of
Commercial Off The Shelf applications, interfaces with external
source systems (i.e., Supply Chain & Payroll), & in-house
developed bolt-ons. Performs GL, Asset Management, AR,
Costing, Billing, & reporting to DOE.
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Nuclear E nergy -ORACLE FINANCIALS :
Maintains and operates INEEL financial systems consisting of
Commercial Off The Shelf applications, interfaces with external
source systems (i.e., Supply Chain & Payroll), & in-house
developed bolt-ons. Performs GL, Asset Management, AR,
Costing, Billing, & reporting to DOE.



Lawrence B erkley Laboratory National Energy Research
Scientific Computing Enclave:
The Lawrence Berkley Laboratory National Energy Research
Scientific Computing (NERSC) Enclave system is in Support of
Advanced Scientific High Performance Computing.


Management, Budget & E valuation Procurement and
Assistance Data System (PADS):
A Headquarters procurement-based system associated with
planning, awarding, and administering various unclassified
acquisitions.


Management, Budget & E valuation e-Procurement :
A Headquarters procurement-based system associated with
planning, awarding, and administering various unclassified
acquisitions.


Management, Budget & E valuation Enterprise Human
Resources System (CHRIS):
CHRIS serves as the Department's official record for human
resource information and is maintained by the Office of
Management, Budget and Evaluation.




Management, Budget & E valuation Employee Self
Service (ESS):
This system contributes to the Department's official record for
human resource information and is maintained by the Office of
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Management, Budget and Evaluation.


Management, Budget & E valuation DOE Jobs Online
(QuickHire):
This system contributes to the Department's official record for
human resource information and is maintained by the Office of
Management, Budget and Evaluation.


Management, Budget & E valuation DOEInfo:
This system contributes to the Department's official record for
human resource information and is maintained by the Office of
Management, Budget and Evaluation.


Management, Budget & E valuation Financial Data
Warehouse (FDW):
A department-wide financial data warehouse that will integrate
financial, budgetary, procurement, personnel, program and
performance information.


Management, Budget & E valuation I-MANAGE Data
Warehouse (IDW):
A department-wide I-Manage data warehouse that will integrate
financial, budgetary, procurement, personnel, program and
performance information.


Management, Budget & E valuation DISCAS- Capital
Accounting Center:
The Capital Accounting Center system will replace the
Department's accounting and financial reporting systems,
electronically integrating budget formulation, budget execution,
accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation DISCAS-Core:
The DISCAS-Core system will replace the Department's
accounting and financial reporting systems, electronically
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integrating budget formulation, budget execution, accounting,
financial reporting, activity based management/costing, and
performance measurement.


Management, Budget & E valuation Funds Distribution
System (FDS):
The Funds Distribution System (FDS) system will replace the
Department's accounting and financial reporting systems,
electronically integrating budget formulation, budget execution,
accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation I-MANAGE STARS :
This system will replace the Department's accounting and
financial reporting systems, electronically integrating budget
formulation, budget execution, accounting, financial reporting,
activity based management/costing, and performance
measurement.


Management, Budget & E valuation S tandard Budget
System (SBS):
The Standard Budget System (SBS) system will replace the
Department's accounting and financial reporting systems,
electronically integrating budget formulation, budget execution,
accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation Management
Analysis Reporting System (MARS):
The Management Analysis Reporting System (MARS) will replace
the Department's accounting and financial reporting systems,
electronically integrating budget formulation, budget execution,
accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation Budget Table
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System (BTS):
The Budget Table System (BTS) will replace the Department's
accounting and financial reporting systems, electronically
integrating budget formulation, budget execution, accounting,
financial reporting, activity based management/costing, and
performance measurement.


Management, Budget & E valuation Vendor Inquiry
Payment Electronic Reporting System (VIPERS):
The Vendor Inquiry Payment Electronic Reporting System
(VIPERS) will replace the Department's accounting and financial
reporting systems, electronically integrating budget formulation,
budget execution, accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation Customer Information
Self Service System (CISS):
This Customer Information Self Service System (CISS) will
replace the Department's accounting and financial reporting
systems, electronically integrating budget formulation, budget
execution, accounting, financial reporting, activity based
management/costing, and performance measurement.


Management, Budget & E valuation eContent
Management System (ECMS):
An enterprise-wide, integrated document and records
management system that covers the full life-cycle of documents.


National Nuclear Security Administration ADaPT
Networked:
Develops and deploys emerging information networking
technology to production processes.


National Nuclear Security Administration ADaPT
Network Infrastructure:
Develops and deploys emerging information networking
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technology to production processes.




Advanced Simulation and Computing Network
Infrastructure:
This network infrastructure directly supports the portion of the
DOE mission to maintain the safety, security, and reliability of the
U.S. nuclear weapons stockpile.


Advanced Simulation and Computing Computational
Server:
This computing computational server directly supports the portion
of the DOE mission to maintain the safety, security, and reliability
of the U.S. nuclear weapons stockpile.




Advanced Simulation and Computing Data Repository :
This data repository directly supports the portion of the DOE
mission to maintain the safety, security, and reliability of the U.S.
nuclear weapons stockpile.


Advanced Simulation and Computing Document
Scanning Pilot Facility:
This document scanning pilot facility directly supports the portion
of the DOE mission to maintain the safety, security, and reliability
of the U.S. nuclear weapons stockpile.


Advanced Simulation and Computing Networked:
This computing networked directly supports the portion of the
DOE mission to maintain the safety, security, and reliability of the
U.S. nuclear weapons stockpile.


Advanced Simulation and Computing Stand A lone:
This computing stand alone directly supports the portion of the
DOE mission to maintain the safety, security, and reliability of the
U.S. nuclear weapons stockpile.
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Advanced Simulation and Computing Network
Infrastructure:
This computing network infrastructure directly supports the
portion of the DOE mission to maintain the safety, security, and
reliability of the U.S. nuclear weapons stockpile.


Advanced Simulation and Computing Video Processing:
This computing video processing directly supports the portion of
the DOE mission to maintain the safety, security, and reliability of
the U.S. nuclear weapons stockpile.


Integrated Cyber Security Initiative Network ed System:
This network system provides a secure infrastructure to support
NNSA scientific, business, and engineering efforts.


Integrated Cyber Security Initiative Network
Infrastructure:
This network infrastructure provides a secure infrastructure to
support NNSA scientific, business, and engineering efforts.


Integrated Cyber Security Initiative Video Proces sing:
This video processing system provides a secure infrastructure to
support NNSA scientific, business, and engineering efforts.


Integrated Cyber Security Initiative Teleconference:
This teleconference system provides a secure infrastructure to
support NNSA scientific, business, and engineering efforts.


CMMS Major Application:
This is an Enterprise Resource Planning program, which is a
cross-lab business process and technology solution aimed at
increasing efficiency and effectiveness via integration and
reduction of application silos.


Local Area Network Material Accountability System
(LANMAS):
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This system will aid the reengineering of business processes and
integrate stand-alone systems to ensure cradle-to-grave nuclear
materials accountability.




Nuclear Materials Management & Safeguards System
(NMMSS):
This system will aid the reengineering of business processes and
integrate stand-alone systems to ensure cradle-to-grave nuclear
materials accountability.


PeopleSoft System:
HR systems tool, used for budgeting, head count, employee
information.


Oracle Financial and Manufacturing Access:
The Enterprise Resource Planning is a cross-lab business
process and technology solution aimed at increasing efficiency
and effectiveness via integration and reduction of application
silos.


National Nuclear Security Administration STA
Transportation Command and Control System:
The mission of this system is to aid in the tracking and
communication of the safe and secure transportation of nuclear
weapons, components and special nuclear materials.


E nvironmental Management Access Control [RADAC] :
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


Automated Transportation Management System (ATMS):
This application is used by DOE's National Transportation
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Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


E nvironmental Management Headquarters EM 20 ATMS:
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


E nvironmental Management Headquarters EM 20
RADTRAN:
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


E nvironmental Management Headquarters EM 20 --
Transportation Routing Analysis Geographic Information
System (TRAGIS ):
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


E nvironmental Management Headquarters EM 20
RADCALC:
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.
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E nvironmental Management Headquarters EM 20 --
Transportation Communications System (TRANSCOM):
This application is used by DOE's National Transportation
Program to support the planning and execution of its
transportation responsibilities for all non-classified shipments of
hazardous materials, including radioactive, mixed wastes, and
other commodities.


Legacy Management 5000:
This system aids in the mission of Legacy Management which is
to manage the Department’s post closure responsibilities and
ensure the future heath and protection of the environment.


Oak Ridge National Laboratory Enterprise Resource
Planning System (S A P ):
ORNL's SAP (Systems, Applications, and Products in Data
Processing) is the business and human resource system
including payroll, project management, accounting, accounts
Receivable, accounts Payable, human resources, contracts, and
procurement.


P acific Northwest National Laboratory E nvironmental
Molecular S ciences Laboratory :
This system is dedicated to addressing Grand Challenge
computational problems in environmental science at the
molecular level.


P acific Northwest National Laboratory EMSLnet
Enclave:
This system is dedicated to addressing Grand Challenge
computational problems in environmental science at the
molecular level.


Richland PHMC Business Management System (BMS):
Business Management System (BMS) supports business &
administrative functions required by two Prime Contractors
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(Richland Project Hanford Management Contract & RPP). This
integrated Enterprise Resource Planning system supports
finance, human resources, pension, acquisitions, training,
benefits, payroll, contracts, and property related needs.


Civilian Radioactive Waste Management DOE Licensing
Support Network (LSN):
The Licensing Support Network is a web-based electronic
discovery system required to meet the requirements in 10CFR2
Subpart J. The DOE portion of the LSN was activated in June
2004. The LSN is expected to be operational through 2010.


S cience Lattice Quantum ChromoDynamics Computing:
This system provides the computational infrastructure needed to
carry out research in theoretical physics in support of these
experimental programs.


Security Office e-DOE Integrated Security System + :
SO eDISS+ allows for electronic receipt, processing, sharing, and
archiving of clearance-related data, an electronic signature
capability, and will integrate personnel security data and
clearance information with other Departmental systems.


Western A rea P ower A dministration CSO Western
Business Information Decision Support System (BIDSS)
Upgrade:
BIDSS is Western's integrated financial, accounting, and
business information system, the upgrade project was to upgrade
Oracle 10.7 to Oracle 11.i.


Western A rea P ower A dministration CSO Western
Business Information Decision Support System-OFA
BIDSS is Western's integrated financial, accounting, and
business information system, the upgrade project was to upgrade
Oracle 10.7 to Oracle 11.i.
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